          Case 1:20-mc-91333-PBS Document 1 Filed 07/16/20 Page 1 of 3



                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                       )
                                               )
               v.                              )       M.B.D. Case No. 20-mc-91333
                                               )
KELVIN BARROS,                                 )
DARIUS BASS,                                   )
MOSES CABRAL,                                  )
DAMIAN CORTEZ,                                 )
JOSEPH GOMES,                                  )
WILSON GONCALVES-MENDES,                       )
DAVID RODRIGUEZ,                               )
                                               )
       Defendants                              )

              MOTION FOR ENDS-OF-JUSTICE CONTINUANCE OF TIME
               FOR FILING AN INDICTMENT OR INFORMATION, AND
               EXCLUSION OF TIME, UNDER THE SPEEDY TRIAL ACT

       The United States of America, by and through Assistant United States Attorney Michael

Crowley, with the agreement of counsel for the defendants Kelvin Barros, Darius Bass, Moses

Cabral, Damian Cortez, Joseph Gomes, Wilson Goncalves-Mendes, and David Rodriguez,

respectfully moves this Court to grant a continuance of the time within which an indictment or

information must be filed, and exclude the time period from July 16, 2020, through and including

September 19, 2020, from the speedy trial clock, pursuant to the Speedy Trial Act, 18 U.S.C.

§§3161(h)(7)(A), and Sections 5(b)(7)(B) and 5(c)(1)(A)of the Plan for Prompt Disposition of

Criminal Cases for the United States District Court for the District of Massachusetts (effective

December 2008), on the ground that the ends of justice served by granting the requested continuance

and excluding these periods outweigh the best interests of the public and the defendants in a speedy

trial. The parties further ask this Court to issue the attached proposed Order of Continuance and

Excludable Delay. In support of this request, the parties state as follows:
            Case 1:20-mc-91333-PBS Document 1 Filed 07/16/20 Page 2 of 3



       1.      The defendants were charged by a complaint; the case was initiated against

Defendant by a criminal complaint in United States v. Michael Brandao et al, Case No. 20-MJ-

06383-MPK. Per Order of the District Court, regular grand juries have been postponed through the

end of August 2020 due to the present health crisis. The government is preparing initial discovery

regarding the case, and will provide the initial discovery to counsel for the defendants.


       2.      The requested exclusion of time will permit defense counsel to adequately confer with

the defendants, and allow the government sufficient time to produce initial discovery. This discovery

will allow the defendants to prepare for trial, as well as to review a potential resolution of the case.

Such a pre-indictment resolution may benefit the defendants. The parties agree that, if the requested

time is excluded, the government has until September 19, 2020 to return an indictment in this case.

A proposed order is attached.


                                                       Respectfully submitted,

                                                       ANDREW E. LELLING
                                                       United States Attorney

                                                   By: /s/ Michael J. Crowley
                                                       Michael J. Crowley
                                                       Assistant U.S. Attorney




                                                   2
          Case 1:20-mc-91333-PBS Document 1 Filed 07/16/20 Page 3 of 3



                                      Certificate of Service

        I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing and paper copies will
be sent to those indicated as non-registered participants.

                                              By:     /s/ Michael J. Crowley
                                                      Michael J. Crowley
                                                      Assistant U.S. Attorney
Date: July 16, 2020




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